Case:20-12377-MER Doc#:413 Filed:06/09/20                  Entered:06/09/20 12:32:23 Page1 of 5




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 IN RE:                                                )
                                                       )      Case No. 20-12377-EEB
 SKLAR EXPLORATION COMPANY, LLC                        )
 EIN: XX-XXXXXXX                                       )      Chapter 11
                                                       )
           Debtor.                                     )
                                                       )
                                                       )      Case No. 20-12380-EEB
 SKLARCO, LLC                                          )
 EIN: XX-XXXXXXX                                       )      Chapter 11
       Debtor.                                         )
                                                       )

                 STATEMENT OF POSITION WITH RESPECT TO FINAL
                CASH COLLATERAL ORDER AND OBJECTIONS THERETO


           Secured creditor, East West Bank, a California state banking corporation (“EWB”), in its

 capacity as a lender and the administrative agent under the Credit Agreement dated June 15,

 2018 with Sklar Exploration Company LLC and Sklarco LLC (the “Debtors”), through counsel,

 hereby submits this statement of position in support of entry of the final order authorizing use of

 cash collateral (the “Final Cash Collateral Order”) pursuant to the Debtors’ Motion to Use Cash

 Collateral [Dkt. No. 350], and hereby responds to various objections thereto.

           To be clear, EWB supports entry of the Final Cash Collateral Order, which will provide a

 greater degree of certainty and stability to these cases. The Final Cash Collateral Order is the

 culmination of many weeks of good-faith, arm’s-length negotiations among the Debtors, the

 Unsecured Creditors Committee, EWB, and other parties in interest. In conjunction with the

 appointment of a chief restructuring officer with full authority to manage the Debtors, entry of




 602104036.2
Case:20-12377-MER Doc#:413 Filed:06/09/20                  Entered:06/09/20 12:32:23 Page2 of 5




 the Final Cash Collateral Order1 should permit the Debtors to focus on a viable strategy to pay

 creditor claims in full and exit bankruptcy.

           With respect to the objections, EWB submits that the Final Cash Collateral Order

 provides adequate protection of affected interests. With respect to specific issues raised in the

 Anderson Parties’ objection [Dkt. No. 406], EWB respectfully submits as follows:

           •       EWB has no opposition to the inclusion of a provision making clear that the post-

     petition revenues attributable to the working interest holders will be segregated and paid in the

     ordinary course, without setoff or clawback by EWB.

           •       At this stage of the case, however, working interest owners should not be able to

     offset their prepetition claims against their post-petition payable obligations owed to SEC,

     absent an order of the Court or authorization under applicable law. Such issues need to be

     vetted in an appropriate proceeding, and not in the context of a final cash collateral order.

     Certainly, the Bankruptcy Code does not require such an arrangement under the guise of

     adequate protection.

           With respect to the Tauber Group’s objection [Dkt. No. 408], EWB respectfully submits

 as follows:

           •       Under the law of any conceivably applicable jurisdiction, EWB had perfected

 liens on the Debtors’ deposit accounts as of the petition date. See Ala. Code §§ 7-9A-104(a), 7-

 9A-312(b)(1) (secured party has perfected security interest in a deposit account if the secured

 party has control by virtue of being the bank with which the deposit account is maintained); Cal.

 Com. Code §§ 9104(a), 9312(b)(1) (same); Colo. Rev. Stat. §§ 4-9-104, 4-9-312(b)(1) (same);

 1
   EWB anticipates that the CRO will, among other things, analyze Debtors’ operations and
 expenses, and revise and replace the 13-week cash flow budget attached to the Final Cash
 Collateral Order in consultation with EWB and the Unsecured Creditors Committee, in the
 manner provided in the Final Cash Collateral Order. EWB reserves all rights with respect to
 such issues.
                                              2
 602104036.2
Case:20-12377-MER Doc#:413 Filed:06/09/20                Entered:06/09/20 12:32:23 Page3 of 5




 La. Rev. Stat. Ann. §§ 10:9-104, 10:9-312(b)(1) (same); Tex. Bus. & Com. Code §§ 9.104,

 9.312(b)(1) (same).

           •    Accordingly, whether a party has a recorded lien in mineral interests that is prior

 to EWB’s recorded lien is irrelevant to the priority of liens on cash in deposit accounts.2 Under

 section 9-327 of the Uniform Commercial Code, the security interest of the bank with which the

 deposit account is maintained takes priority over all other conflicting security interests in the

 deposit account, regardless of whether the deposit account constitutes the competing secured

 party’s original collateral or its proceeds. See Ala. Code § 7-9A-327; Cal. Com. Code § 9327;

 Colo. Rev. Stat. § 4-9-327; La. Rev. Stat. Ann. § 10:9-327; Tex. Bus. & Com. Code § 9.327.

 The official comment to section 9-327 makes clear that “a secured party who claims the deposit

 account as proceeds of other collateral can reduce the risk of becoming junior by obtaining the

 debtor’s agreement to deposit proceeds into a specific cash-collateral account and obtaining the

 agreement of that bank to subordinate all its claims to those of the secured party.” UCC 9-327,

 official comment 4. The working interest holders effectively have such an arrangement with

 respect to their post-petition revenues, but took no such action prior to the petition date. To the

 contrary, the Debtors deposited all funds into the EWB accounts without objection or alternative

 arrangement by any party. As of the petition date, the cash in the deposit accounts was subject to

 EWB’s senior liens.

           •    Any contention that section 9-327 “only applies when both secured parties are

 claiming a security interest over the account itself and does not override the priority of a secured

 party who takes a lien over intangibles and then follows the proceeds into a bank account” is a




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   EWB reserves all rights with respect to lien creation, attachment, perfection, priority and
 related issues. Nothing herein shall be deemed an admission or consent by EWB.
                                                3
 602104036.2
Case:20-12377-MER Doc#:413 Filed:06/09/20                 Entered:06/09/20 12:32:23 Page4 of 5




 “transparent misreading of the law.” City Bank v. Compass Bank, 717 F. Supp. 2d 599, 617

 (W.D. Tex. 2010).

           •      EWB is concerned by the Tauber Group’s allegation that the Debtors are

 “surreptitiously acquiring interests in royalties and overriding royalties through the use of a straw

 entity . . . .” Those allegations, however, must be addressed at the appropriate time by the

 appropriate estate fiduciary (whether a CRO, trustee, or committee with standing). They do not

 constitute an impediment to entry of the Final Cash Collateral Order and do not justify a death

 knell to business operations and the estates’ going-concern value.

           EWB reserves its right to address any additional objections or arguments raised with

 respect to the Final Cash Collateral Order.

           WHEREFORE, EWB respectfully requests that the Court enter the Final Cash Collateral

 Order, and grant such other relief as it deems is just and proper.

           Dated this 9th day of June, 2020.

                                        s/ Craig K. Schuenemann
                                        Craig K. Schuenemann, CO #41068
                                        BRYAN CAVE LEIGHTON PAISNER LLP
                                        1700 Lincoln Street, Suite 4100
                                        Denver, CO 80203
                                        Phone: (303) 861-7000
                                        Facsimile: (303) 866-0200
                                        Email: craig.schuenemann@bclplaw.com

                                        ATTORNEYS FOR EAST WEST BANK




                                                  4
 602104036.2
Case:20-12377-MER Doc#:413 Filed:06/09/20              Entered:06/09/20 12:32:23 Page5 of 5




                                CERTIFICATE OF MAILING

          The undersigned hereby certifies that on this 9th day of June, 2020, a true and correct
 copy of the foregoing STATEMENT OF POSITION WITH RESPECT TO FINAL CASH
 COLLATERAL ORDER AND OBJECTIONS THERETO was filed and served via ECF on
 all attorneys of record:

 Jeffrey S. Brinen
 Lee M. Kutner
 1660 Lincoln Street
 Suite 1850
 Denver, CO 80264
 Attorney for Debtor Sklarco, LLC

 Paul Moss
 Byron G. Rogers Federal Building
 1961 Stout St., Ste. 12-200
 Denver, CO 80294
 Attorney for U.S. Trustee



                                             /s/ Martha A. Hammond
                                             Martha A. Hammond Legal Secretary
                                             Bryan Cave Leighton Paisner LLP




                                                5
 602104036.2
